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     ~A0245D     (Rev. 3/01) Judgment in a Criminal Case for Revocations
                                                                                                                       FILED
                 Sheet 1                                                                                                APD 91: ?nt~


                                         UNITED STATES DISTRICT COUR r                                            CLERK US DISTRICT COURT
                                                                                                              SOUTHERN DISTRICT OF ~~RNIA
                                                                                                              BY_                        PUTY
                     SOUTHERN                                      District of                                          '-'    l'l   n.

                  UNITED STATES OF AMER1CA                                JUDGMENT IN A CRIMINAL CASE
                                    v.                                     (For Revocation of Probation or Supervised Release)
                JAMES ANTHONY CUERO JR. (2)                                (For Offenses Committed On or After November 1, 1987)


                                                                           Case Number: 13CRl133-WQH

                                                                           MARTHA HALL, CJA
                                                                           Defendant's Attorney
    REGISTRATION No. 37643298
o
    THE DEFENDANT:
     IE] admitted guilt to violation of allegation(s) No.
     D was found in violation of allegation(s) No.          _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number                    Nature of Violation
                           Unlawful use of controlled substance (nv3)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through            2          of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of an>,
    change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States attorney of any material change in the
    defendant's economic circumstances.

                                                                           APRIL 25, 2016
                                                                          Date of imposition of Sentence




                                                                          UNITED STATES D




                                                                                                                                 13CRl133-WQH
          Case 3:13-cr-01133-WQH                    Document 100         Filed 04/26/16        PageID.207          Page 2 of 2
AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 Imprisonment
                                                                                                Judgment - Page _ _2_ of           2
 DEFENDANT: JAMES ANTHONY CUERO JR. (2)
 CASE NUMBER: 13CRl133-WQH
                                                           IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
          7 months



    D The court makes the following recommendations to the Bureau of Prisons:



    D The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
            Oat                                     O·m.    O.m.         on
                as notified by the United States Marshal.

    DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before
           o as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                               RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL


                                                                     By _ _ _ _~~~~~~~~~~------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                       13CRl133-WQH
